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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on May 18, 2022

UNITED STATES OF AMERICA
V.

PATRICK MONTGOMERY

BRADY KNOWLTON, and

GARY WILSON,

Defendants.

CRIMINAL NO. 21-CR-46 (RDM)

VIOLATIONS:

18 U.S.C. § 111(a)()

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. § 1752(a)(4)

(Engaging in Physical Violence in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2))

(Act of Physical Violence in the Capitol
Grounds or Buildings)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

40 U.S.C. § 5104(e)(2)(B)

(Entering and Remaining in the Gallery of
Congress)

18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding and
Aiding and Abetting)

18 U.S.C. § 641

(Theft of Government Property)

INDICTMENT

The Grand Jury charges that:
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COUNT ONE

On or about January 6, 2021, within the District of Columbia, PATRICK
MONTGOMERY, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an
officer and employee of the United States, and of any branch of the United States Government
(including any member of the uniformed services), and any person assisting such an officer and
employee, that is, Officer D.H., an officer from the Metropolitan Police Department, while such
person was engaged in and on account of the performance of official duties, and where the acts in
violation of this section involve physical contact with the victim and the intent to commit another
felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1)) . .

COUNT TWO

On or about January 6, 2021, within the District of Columbia, PATRICK
MONTGOMERY, committed and attempted to commit an act to obstruct, impede, and interfere
with a law enforcement officer, that is, Officer D.H., an officer from the Metropolitan Police
Department, lawfully engaged in the lawful performance of his official duties, incident to and
during the commission of a civil disorder which in any way and degree obstructed, delayed, and
adversely affected commerce and the movement of any article and commodity in commerce and
the conduct and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT THREE

On or about January 6, 2021, within the District of Columbia, PATRICK

MONTGOMERY, did knowingly engage in any act of physical violence against any person and

property in a restricted building and grounds, that is, any posted, cordoned-off, and otherwise

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restricted area within the United States Capitol and its grounds, where the Vice President was and
would be temporarily visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, PATRICK
MONTGOMERY, willfully and knowingly engaged in an act of physical violence within the
United States Capitol Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

COUNT FIVE
‘On or about January 6, 2021, within the District of Columbia, PATRICK
MONTGOMERY and BRADY KNOWLTON and GARY WILSON, did unlawfully and
knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off,
and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was and would be temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT SIX
On or about January 6, 2021, within the District of Columbia, PATRICK
MONTGOMERY and BRADY KNOWLTON and GARY WILSON, did knowingly, and with
intent to impede and disrupt the orderly conduct of Government business and official functions,
engage in disorderly and disruptive conduct in and within such proximity to, a restricted building
and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United

States Capitol and its grounds, where the Vice President was and would be temporarily visiting,
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when and so that such conduct did in fact impede and disrupt the orderly conduct of Government
business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT SEVEN
On or about January 6, 2021, within the District of Columbia, PATRICK
MONTGOMERY and BRADY KNOWLTON and GARY WILSON, willfully and knowingly
engaged in disorderly and disruptive conduct within the United States Capitol Grounds and in any
of the Capitol Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a
session of Congress and either House of Congress, and the orderly conduct in that building of a
hearing before or any deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, PATRICK
MONTGOMERY and BRADY KNOWLTON and GARY WILSON, willfully and knowingly
paraded, demonstrated, and picketed in any United States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

COUNT NINE
On or about January 6, 2021, within the District of Columbia, PATRICK
MONTGOMERY and BRADY KNOWLTON and GARY WILSON, willfully and knowingly
entered and remained in the gallery of either House of Congress, without authorization to do so.

(Entering and Remaining in the Gallery of Congress, in violation of Title 40, United
States Code, Section 5104(e)(2)(B))
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COUNT TEN

On or about January 6, 2021, within the District of Columbia and elsewhere, PATRICK
MONTGOMERY and BRADY KNOWLTON and GARY WILSON, attempted to, and did,
corruptly obstruct, influence, and impede an official proceeding, that is, a proceeding before
Congress, specifically, Congress’s certification of the Electoral College vote as set out in the
Twelfth Amendment of the Constitution of the United States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title

18, United States Code, Sections 1512(c)(2) and 2)

COUNT ELEVEN

On or about January 6, 2021, within the District of Columbia, BRADY KNOWLTON and
GARY WILSON, did embezzle, steal, purloin, knowingly convert to his use and the use of
another, and without authority, sell, convey and dispose of any record, voucher, money and thing
of value of the United States and any department and agency thereof, that is, an escape hood, which
has a value of less than $1,000.

(Theft of Government Property, in violation of Title 18, United States Code, Section
641)

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
